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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

 DENISE PAYNE, ROBERT COHEN                         §
 and ACCESS FOR THE DISABLED,                       §
 INC.,                                              §
                                                    §
         Plaintiffs,                                §                  Case No. 0:11-cv-60179-JAL
                                                    §
 vs.                                                §
                                                    §
 BRE/LQ FL PROPERTIES LLC d/b/a                     §
 LA QUINTA CORPORATION,                             §
                                                    §
         Defendant.


                                 JOINT STIPULATION OF
                       FULL AND FINAL DISMISSAL WITH PREJUDICE

         Plaintiffs DENISE PAYNE, ROBERT COHEN and ACCESS FOR THE DISABLED,

 INC. (hereinafter referred to as “Plaintiffs”) and Defendant, BRE/LQ FL PROPERTIES LLC

 d/b/a LA QUINTA CORPORATION (“Defendant”), by and through their undersigned counsel,

 pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), stipulate to the voluntary dismissal

 with prejudice of the above-captioned matter.

         1.        All of Plaintiffs’ claims in this Lawsuit will be dismissed with prejudice against

 being re-filed.

         2.        Each party shall bear its own attorneys’ fees, expert fees, litigation expenses and

 costs incurred in litigating these claims, except as provided in the parties’ Confidential

 Settlement Agreement.


 By:/s/ Daniel B. Reinfeld
    Daniel B. Reinfeld
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 ATTORNEY FOR PLAINTIFFS

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    hnorvell@lockelord.com
 ATTORNEYS FOR DEFENDANT
 BRE/LQ FL PROPERTIES LLC d/b/a
 LA QUINTA CORPORATION


                                CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of May 2011, the foregoing document has been
 served on the Plaintiffs’ counsel of record by electronic filing:

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     dan@reinfeldlaw.com


                                                 /s/ Johanna Norvell
                                                 Johanna Norvell




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

 DENISE PAYNE, ROBERT COHEN                      §
 and ACCESS FOR THE DISABLED,                    §
 INC.,                                           §
                                                 §
         Plaintiffs,                             §                   Case No. 0:11-cv-60179-JAL
                                                 §
 vs.                                             §
                                                 §
 BRE/LQ FL PROPERTIES LLC d/b/a                  §
 LA QUINTA CORPORATION,                          §
                                                 §
         Defendant.



                        ORDER GRANTING JOINT STIPULATION
                    OF FULL AND FINAL DISMISSAL WITH PREJUDICE

         The Court has considered the Joint Stipulation of Full and Final Dismissal with Prejudice

 filed by Plaintiffs, DENISE PAYNE, ROBERT COHEN and ACCESS FOR THE DISABLED,

 INC., and Defendant, BRE/LQ FL PROPERTIES LLC d/b/a LA QUINTA CORPORATION,

 the pleadings on file, and all other things before it. The Court hereby dismisses this matter with

 prejudice against being re-filed. Each party shall bear its own fees, expenses and costs, except as

 otherwise provided in the parties’ Confidential Settlement Agreement.

         It is so ORDERED.

         SIGNED on this ________ day of ________________________ 2011.


                                              ______________
                                              UNITED STATES DISTRICT JUDGE




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